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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE                        20 FEB - 7 AH IQ: 5Q
                                  WESTERN DISTRICT
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LATASHA CHANT A TENNIAL,

        Appellant,

V                                                                   Civil No .: 2:19-cv-2688-JTF-tmp



REI NATION LLC,

       Appellee( s),

       Bankruptcy No. 18-28470




                       LATASHA C. TENNIAL- APPELLANT'S MOTION
                                         TO
                        SHOW CAUSE AS ORDER JANUARY 21, 2020



       COME NOW, LaTasha Tennial, the Appellant, and to file this Motion to Show Cause

and to demonstrate why the Defendant's motion should be denied. I will show this Honorable

Court the following :


                                             SUMMARY


       Whereas, there have been four transactions to occur involving my homestead, 3 out of 4

transactions violated the local, state, and federal laws, as well as my rights. The actions were

taken against me and caused physical, emotional, mental, and financial injuries as a direct result.

The Defendant and its agents intentionally misrepresented itself before the United States

Bankruptcy Court which contributed the Order for relief being granted to the Defendant. REI


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NATION is not entitled to possession of my home; the defendant and its agents violated

bankruptcy codes; lastly the Defendant is not a creditor of my chapter 13 plan, the Special

Warranty Deed is void, and the Defendant is not owed relief


                                                       FACTS


       1.        REI Nation and its agents recorded a Special Warranty Deed with Shelby

                 County June 25, 2019.

       2.        February 6, 2019 a FULL RELEASE OF LIEN for the 2nd mortgage was

                 recorded in Shelby County.

       3.        Quit Claim with the County July 15, 2015 BY Rubin Lublin/Bank of America

       4.        A Substitute Trustee' s Deed was recorded by May 8, 2015 by Rubin Lublin/

                 Bank of America; the Foreclosure procedures were not followed .

                                                              ISSUES

                 •   Rubin Lublin LLC/ Bank of America and; or Carrington conducted a "Dual

                     Track" foreclosure.

                 •   Rubin Lublin/ Bank of America Quit Claim is Void because an Order for

                     an IMPOSED automatic stay was entered June 15, 201 5.

                 •   The Substitute Trustee Deed is Voidable; and or VOID because it was

                     back-dated and recorded during bankruptcy chapter 13 filing.

                 •   The five year lien placed on the property in 2013 had not been released.

                     (This lien and Deed of Trust is evidence that the $39, 844. 00 p aid to Carrington on my

                     behalf was to take the loan out of defau lt status.)

                 •   The mortgage assignment is void. There are defects and the chain of title is

                     unclear.

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                                               ANALYSIS


(a.) It appears that Community Mortgage Corporation assigned the loan twice. Once to

Countrywide Home Loans 30 days after closing; and nearly two years later to Community

Mortgage/Recontrust Company, N.A. reassigned the loan to BAC Home Loans Servicing, LP.


(b.) However, the loan has transferred about six times. (c.) Yet, the "Note" only has four

endorsements; two of the endorsements have very different signatures with two different titles

for the same person (Michele Sjolander, Bank of America). (d.) The endorsement ofBAC Home

Loans Servicing LP is missing as well as Carrington Mortgage Services, LLC and neither has not

been recorded. (e.) The "Note" does not have any dates and are not is a synchronized order it is

unclear and there is no way of telling if the endorsements were done after it was brought to the

attention of Bank of America, N . A. in the previous District case no . 2: 16-cv-02913-cgc. (f.) My

last statement from Carrington was November of 2017 prior to that it has been very unclear as to

the status and ownership of the loan.


                                            CONCLUSION


       The Defendant's Deed is VOID because Bank of America ' s Quit Claim is VOID; the

Quit Deed is void because the foreclosure fraudulent Bank of America never took the loan out of

default status. The foreclosure was conducted without notice, the foreclosure was dual tracked

there are clear RESP A violations, the acceleration wasn' t authorized by the "Secretary"

(Secretary of Housing and Urban Development), Carrington Mortgage Services concurrently

foreclosed before completing the modification review; and before the appeal period had been

exhausted. In addition to that the "Note" does NOT authorize acceleration when not permitted

by HUD regulations. It is important to note: The assignment was last recorded in 2010 but

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was a part of the INDEPENDENT FORECLOSURE REVIEW settlement, when Bank of

America was found in connection with an aggressive enforcement action related to deficient

mortgage servicing and foreclosure processes and including reasons mentioned in section (b.)

through (f.) and should be deemed void.


       Furthermore, Mr. McElroy filed bankruptcy chapter 13 on my behalf 10/10/2018 and the

Court of General Sessions' Office of the Clerk was put on notice of my bankruptcy chapter 13

filings. (a)Therefore, when REI Nation filed its FED case Tuesday, July 2, 2019 no relief had

been granted to REI Nation. (b.) Likewise, June 26, 2019 the Defendants filed its Special

Warranty Deed in Shelby County no relief had been granted. (c.) The Defendant relief was

granted September 11 , 2019 by false pretenses.


           o   Whereas, Bank of America recorded a Quit Claim Deed July 1, 2015 is void

               because of an Order granting motion to impose automatic stay entered June 15,

               2015.

           o   May 1, 2013 Carrington became the servicer of my loan; Bank of America

               transferred the loan Carrington.

           o   I never entered into an agreement with the Defendant.


       The Defendant presented an INVALID Special Warranty Deed dated June 18, 2019;

recorded on June 25, 2019 as evidence to this Honorable Court as well as to the United States

Bankruptcy Court, Shelby County General Sessions Court and the Circuit Court as proof of

ownership and it should not be allowed. The defendant is merely a Strawman of Bank of

America and has no real interest in the property.


I pray for relief I pray that the previous Order is overturned.

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      Respectfully Submitted,




~
LaTasha C. Tennial
February 7, 2020




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